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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF FLORIDA
                          TALLAHASSEE DIVISION

SHELLY MILLS,

              Plaintiff,

vs.                                              CASE NO.: 4:05cv86-SPM/AK

J. H. HARVEY COMPANY,
a foreign company doing
business in Florida,

           Defendant.
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                           ORDER REMANDING CASE

        Pursuant to the parties’s Joint Motion to Remand (doc. 5), in which the

Defendant concedes lack of federal jurisdiction because the case does not meet

the amount in controversy requirement, it is

        ORDERED AND ADJUDGED:

        1.    The Joint Motion to Remand (doc. 5) is granted.

        2.    This case is remanded to the Circuit Court, Second Judicial Circuit,

in and for Gadsden County, Florida.

        DONE AND ORDERED this 10th day of May, 2005.


                                      s/ Stephan P. Mickle
                                   Stephan P. Mickle
                                   United States District Judge
